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                   United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                   TEL. 504-310-7700
CLERK                                                        600 S. MAESTRI PLACE,
                                                                     Suite 115
                                                            NEW ORLEANS, LA 70130

                             April 10, 2023


Ms. Cynthia Barmore
U.S. Department of Justice
Civil Division, Appellate Section
950 Pennsylvania Avenue, N.W.
Washington, DC 20530

      No. 23-10362     Alliance Hippocratic Medicine v. FDA
                       USDC No. 2:22-CV-223


Dear Ms. Barmore,
We are taking no action on your exhibits to the motion incorrectly
filed as an addendum to a brief. The clerk’s office will file them
as exhibits to the motion.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk

                                 By: _________________________
                                 Lisa E. Ferrara, Deputy Clerk
                                 504-310-7675
cc:
      Mr.   Erik Baptist
      Ms.   Julie Marie Blake
      Ms.   Jessica Lynn Ellsworth
      Ms.   Denise Harle
      Ms.   Sarah Elaine Harrington
      Mr.   Michael S. Raab
      Mr.   Daniel Schwei
      Mr.   Christian D. Stewart
